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UNITED STATES OF AMERICA
Plaintiff,
VS. CR. NO. 04-20266-D
MARVIN JACKSON
Defendant.

 

ORDER ON CHANGE OF PLEA
AND SETTIEG

 

This cause came on to be heard on June 30, 2005, the United States
Attorney for this district, David Pritchard, appearing for the
Government and the defendant, Marvin Jackson, appearing in person and
with counsel, J. Patten Brown, III, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count 2 of the
Indictment.

Counts l and 3 shall be dismissed at the Sentencing Hearing.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for TUESDAY, SEPTEMBER 27, 2005, at
1:30 P.M., before Judge Bernice B. Donald.

Defendant is remanded to the custody of the U. S. Marshal.

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TED STATES DISTRICT COURT

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J. Patten BroWn

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

J uni S. Ganguli

LAW OFFICES OF .TUNI GANGULI
40 S. Main Ave.

Ste. 1540

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

